              Case 2:06-cr-00455-WBS Document 98 Filed 12/23/08 Page 1 of 2


     Shari Rusk, Bar No. 170313
 1   Attorney at Law
     1710 Broadway, #111
 2   Sacramento, California 95818
     Tel: (916) 804-8656
 3   Fax: (916)443-1165
     Email: Rusklaw@comcast.net
 4

 5
                          IN THE UNITED STATES DISTRICT COURT
 6
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8                                         ) Case No.: Cr. S. 06-455
     United States of America,             )
 9                                         ) AMENDED STIPULATION AND ORDER TO
                   Plaintiff,              ) CONTINUE STATUS CONFERENCE
10                                         )
             vs.                           ) DATE:   January 26, 2009
11                                         ) TIME:   8:30 a.m.
                                           ) COURT: Hon. William B. Shubb
12   KHANTHY VONGSEDONE, et. al.,          )
                                           )
13                 Defendants
14

15

16           Defendants, Sue Her, by and through his undersigned counsel,
17   Shari Rusk, Khanthy Vongsedone, by and through his undersigned counsel
18   Chris Haydn-Myer and Tony Ketmany, by and through his undersigned
19   counsel, J. Toney, Jay Sayarath, by and through his undersigned
20   counsel, Danny Brace and the United States, by and through Assistant
21   United States Attorney Jill Thomas, hereby agree and stipulate that
22   the status conference previously scheduled for December 22, 2008 be
23   re-scheduled for January 26, 2009.      The parties have received
24   additional discovery and are in the process of investigating and
25   negotiating with the government.     Additional time is needed for
26   continued defense preparation.     Therefore the parties request that the
27   matter be placed on calendar for a status conference on January 26,
28   2009.




                                           -1-
              Case 2:06-cr-00455-WBS Document 98 Filed 12/23/08 Page 2 of 2



 1        All parties agree that time should be excluded up to and through

 2   January 26, 2009 under the Speedy Trial Act, pursuant to 18 U.S.C. §

 3   3161(h)(8)(B)(iv) and local code T4, to allow the defense sufficient

 4   time to prepare and investigate this matter.

 5
     Dated: December 19, 2008               Respectfully submitted,
 6

 7

 8                                         _/s/ Shari Rusk________
                                           Shari Rusk
 9                                         Attorney for Defendant
                                           Sue Her
10

11                                         /s/ Chris Haydn-Myer
                                           Chris Haydn-Myer
12                                         Attorney for Defendant
                                           Khanthy Vongsedone
13

14                                         /s/ J. Toney____
                                           J. Toney
15                                         Attorney for Defendant
                                           Tony Ketmany
16
     Dated: December 19, 2008
17                                         /s/ Jill Thomas ____
                                           Jill Thomas
18
                                            Assistant United States Attorney
19
     Dated: December 22, 2008           /s/ Danny Brace_______
20                                      Danny Brace
                                        Attorney for Jay Sayarath
21
                                   ORDER
22
          It is so ordered.     The status conference in United States v.
23
     Vongsedone will be continued to January 26, 2009 at 8:30 a.m. and time
24

25
     will be excluded.

26   DATED:    December 22, 2008

27

28




                                            -2-
